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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV                               :
                                             :
       v.                                    :      No.: 18-cv-4282
                                             :
CUSHMAN & WAKEFIELD OF                       :
PENNSYLVANIA, INC.                           :


                                            ORDER

       AND NOW, this ______ day of ________________, 201__, upon consideration of

Defendant, Cushman & Wakefield of Pennsylvania, Inc.’s Motion to Dismiss Plaintiff’s Third

Amended Complaint, and Plaintiff, Andrea Pesacov’s Response in Opposition thereto, it is

hereby ORDERED and DECREED:

       (1)      Counts II, IV, V, VI, VII, VII are voluntarily WITHDRAWN without prejudice;

       (2)      Defendants’ Motion to Dismiss Counts I, III, & IX is DENIED; and,

       (3)      Defendant, Cushman & Wakefield of Pennsylvania, Inc. shall file an Answer to

                Plaintiff’s Third Amended Complaint within 20 days of this Order.

                                                    AND IT IS SO ORDERED.



                                                    _________________________________
                                                    Hon. Anita B. Brody, U.S.D.J.
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV                              :
                                            :
       v.                                   :      No.: 18-cv-4282
                                            :
CUSHMAN & WAKEFIELD OF                      :
PENNSYLVANIA, INC.                          :


            PLAINTIFF, ANDREA PESACOV’S RESPONSE IN OPPOSITION TO
                        DEFENDANT’S MOTION TO DISMISS

       Plaintiff, Andrea Pesacov, by and through her undersigned attorneys, hereby incorporates

by reference her attached Memorandum of Law as if set forth at length herein. For the reasons

set forth in the attached Memorandum of Law, Plaintiff respectfully requests this Honorable

Court deny Defendant, Cushman & Wakefield of Pennsylvania, Inc.’s Motion to Dismiss

Plaintiff’s Third Amended Complaint and enter the attached Order.

       WHEREFORE, Plaintiff, Andrea Pesacov, by and through her undersigned attorneys,

respectfully requests this Honorable Court deny Defendant, Cushman & Wakefield of

Pennsylvania, Inc.’s Motion to Dismiss Plaintiff’s Third Amended Complaint and enter the

proposed Order attached hereto.

                                                   Respectfully submitted,

WEISBERG LAW                                       SCHAFKOPF LAW, LLC

 /s/ Matthew B. Weisberg                            /s/ Gary Schafkopf
Matthew B. Weisberg                                Gary Schafkopf
Attorney ID No. 85570                              Attorney ID No. 83362
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Attorneys for Plaintiff
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV                               :
                                             :
       v.                                    :       No.: 18-cv-4282
                                             :
CUSHMAN & WAKEFIELD OF                       :
PENNSYLVANIA, INC.                           :


              PLAINTIFF, ANDREA PESACOV’S MEMORANDUM OF LAW
             IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
                       DEFENDANT’S MOTION TO DISMISS


       Plaintiff, Andrea Pesacov, by and through her undersigned attorneys, hereby provides her

Memorandum of Law in Support of her Response in Opposition to Defendant, Cushman &

Wakefield of Pennsylvania, Inc.’s (“Moving Defendant”) Motion to Dismiss Plaintiff’s Third

Amended Complaint (“Pl. Op. Compl.”).

I.     OPERATIVE FACTS

       Plaintiff, Andrea Pesacov, is an adult individual, residing at the above captioned address.

At all times material hereto, Plaintiff, Andrea Pesacov, was employed by Defendant as the

Senior Director of Cushman & Wakefield’s Retail Services for the Philadelphia / N.E. Region.

See Pl. Op. Compl., ¶ 4. Plaintiff, Pesacov worked for Defendant for about 3.5 years, from

approximately April 2014 until approximately September 2017. Id.

       Defendant, Cushman & Wakefield of Pennsylvania, Inc. (“C&W”) is a commercial real

estate services company and is a corporate child of Non-Party, Cushman & Wakefield, Inc.,

which is one of the largest commercial real estate services firms in the world, operating in over

seventy countries and employing approximately 45,000 employees. Id. at ¶ 5.
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       In or around April 2014, Defendant’s Agent, Non-Party, John Derham, who was

employed by Defendant as the Senior Managing Director, met with Plaintiff concerning

prospective employment. Id. at ¶ 8. During this initial job interview, Derham made inappropriate,

sexual advances on Plaintiff. Id. at ¶ 9. In fact, Derham inappropriately placed on hand on

Plaintiff’s thigh three (3) times. Id. On the third occasion, Plaintiff gave Derham a nasty look, in

which Derham responded, stating that he was a “very tactile individual”. Id. at ¶ 10. Plaintiff

replied, “not with me you’re not.” Id.

       Despite this sexually charged interview, Defendant ultimately hired Plaintiff in or around

April 2014. Id. at ¶ 11. Plaintiff entered into an employment contract with Defendant in or

around April 2014. Pursuant to the employment contract, if Plaintiff separated from Defendant,

Defendant was contractually required to pay Plaintiff her earned commission or “brokerage

splits” from all contracts that Plaintiff was responsible for prior to any separation. Id. at ¶ 13.

       Plaintiff reported Derham’s inappropriate sexual harassment of Plaintiff during the

aforementioned job interview to Defendant’s Agent, Non-Party, Matt Winn, who was employed

by Defendant as the Chief Operations Officer of the Americas. Id. at ¶ 14. Winn informed

Plaintiff that Derham had a reputation of sexually harassing his female colleagues and

subordinates and that Winn expected Plaintiff to have a difficult working relationship with

Derham. Id. at ¶ 15. Winn did not take any further actions concerning Derham’s inappropriate

sexual harassment of Plaintiff. Id. at ¶ 16.

       During the first six months of Plaintiff’s employment, Derham regularly lied and mislead

Plaintiff concerning her workplace duties. Id. at ¶ 18. For example, Derham mislead Plaintiff

concerning potential contracts with Shops at Liberty Place, causing Plaintiff to lose significant

commissions. Id.
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       Derham also spread lies concerning Plaintiff to Plaintiff’s fellow co-workers and

subordinates. Id. at ¶ 19. Derham’s close, personal friend, Defendant’s Agent, Non-Party,

Shannon Mellor, who was employed by Defendant in the position of Operations Manager of the

Philadelphia Office also began spreading lies concerning Plaintiff at Derham’s direction. Id.

Derham and Mellor also encouraged Plaintiff’s support staff to falsely claim that they could not

get along with Plaintiff in an attempt to create pre-text for Plaintiff’s termination and/or

demotion. Id. at ¶ 20.

       In December 2015, as Plaintiff was leaving Defendant’s 2015 holiday party, Derham,

approached her, and sexually propositioned her by saying, “What would you do right now if I got

down on my hands and knees and ate you out?” Id. at ¶ 21. Plaintiff reported Derham’s sexual

harassment at the holiday party, as well as the ongoing sex-based discrimination and hostile

work environment to Defendant’s Agent, Non-Party, Gene Spiegelman who is employed by

Defendant in the position of Vice Chairman-Head of Retail Services. Id. at ¶ 22. As a result of

Plaintiff’s aforementioned internal complaint, Defendant initiated an investigation into Derham

concerning the aforementioned acts of sexual harassment, as well as the ongoing sex-based

discrimination and hostile work environment caused by Derham. Id. at ¶ 23.

       Nonetheless, Derham continued to be employed by Defendant into in or around April

2017. Id. at ¶ 24. Even after Plaintiff’s aforementioned internal complaint, Derham continued to

discriminate against Plaintiff and subject Plaintiff to a hostile work environment. Id. at ¶ 25. For

example, after convincing a support staff member to falsely accuse Plaintiff of being mean to

her, Derham called Plaintiff into his office and screamed at Plaintiff so loudly that the entire

office could hear. Id. at ¶ 26. Upon information and belief, Derham did so in order to discredit

Plaintiff and protect himself. Id. Derham and Mellor continued to spread lies concerning
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Plaintiff and created false pretenses to discipline Plaintiff. Id. at ¶ 27.

           In or around March 2017, Defendant terminated Derham. Id. at ¶ 28. However, as the

results of the internal investigation were never shared with Plaintiff, Plaintiff is unaware of the

rationale or cause for Derham’s termination. Id. Nonetheless, Plaintiff believes that Defendant’s

Agents harbored animosity towards Plaintiff as a result of Plaintiff’s aforementioned internal

complaint against Derham, which is believed to have played a part in Derham’s termination. Id.

at ¶ 29.

           In or around May 20, 2017, Plaintiff suffered a medical emergency due to food-poisoning

while at a work-related function, resulting in multiple surgeries. Id. at ¶ 31. Plaintiff’s medical

doctors did not allow Plaintiff to return to work until on or about September 18, 2017. Id. at ¶ 32.

While in the intensive care unit, on or about May 20, 2018, Plaintiff contacted Defendant’s

Agent, Non-Party, Mike McCurdy (Regional Managing Principal at the Philadelphia office)

towards an approved medical leave, which was informally granted. Id. at ¶¶ 30, 33.

           Plaintiff underwent three significant stomach surgeries during Summer 2017. Id. at ¶ 34.

While on an approved medical leave of absence, Plaintiff visited her workplace solely in order to

meet with her assistant on August 17, 2017 – as her doctor only approved her for a one-hour

visit. Id. at ¶ 35. However, while at her workplace on August 17, 2017, Defendant’s Agents,

Non-Parties, Mike McCurdy and Stevannie Sierra demanded to meet with Plaintiff – prior to

Plaintiff’s return from her approved medical leave of absence. Id. at ¶ 36.

           Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra interrogated

Plaintiff and falsely accused Plaintiff of violating various company policies based on reports

from Derham – reports made prior to Derham’s termination. Id. at ¶ 39. The interrogation lasted

approximately two hours. Id. at ¶ 40. During the aforementioned interrogation, Sierra admitted
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that she had never previously asked Plaintiff her side of any of the alleged (and false) allegations,

but instead has simply believed Derham. Id. at ¶ 43. In fact, Sierra admitted – as she was a recent

hire – that she was not aware of the harrowing 2.5-year history of Derham’s subjection of

Plaintiff to sexual harassment, sex-based discrimination, and hostile work environment. Id. at ¶

44. Nonetheless, at the end of the meeting, Defendant’s Agent, Non-Party, McCurdy told

Plaintiff that it was time for her to look for another job. Id. at ¶ 45.

        On September 18, 2017, which was Plaintiff’s first day back at work following her

medical leave of absence, Plaintiff was called into the office by McCurdy and terminated. Id. at ¶

46. Plaintiff was not given any reason for her termination. Id. Plaintiff believes and therefore

avers that Plaintiff was wrongfully terminated in retaliation for Plaintiff’s aforementioned

internal complaint. Id. at ¶ 47.

        Since Plaintiff’s termination, Plaintiff has received some commissions on pending

contracts. Id. at ¶ 48. However, Plaintiff believes and therefore avers that Defendant has

breached the employment contract by failing to pay Plaintiff all commissions owed to Plaintiff

pursuant to the employment contract. Id. at ¶ 49. To determine the full extent of Plaintiff’s

financial damages, an accounting of the commissions earned by Plaintiff on the pending

contracts is required. Id.

        On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the

Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employment

Opportunity Commission (“EEOC”). Id. at ¶ 51; see also Pl. Op. Compl., Exhibit A. In

Plaintiff’s Charge of Discrimination, Plaintiff complained of sexual harassment, a hostile work

environment, discrimination based on Plaintiff’s sex (female), retaliation, wrongful discharge,

and discrimination based on Plaintiff’s disability. Id. at ¶ 52; see also Pl. Op. Compl., Exhibit A.
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On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the EEOC,

thereby exhausting Plaintiff’s administrative remedies under Title VII. Id. at ¶ 54; see also Pl.

Op. Compl., Exhibit B.

         Plaintiff believes and therefore avers that Defendant was motivated to terminate Plaintiff

due to her aforementioned internal report of sexual harassment, sexual discrimination, and a

hostile work environment. Id. at ¶ 65. Plaintiff believes and therefore avers that Defendant, by

and through its various agents, harbored animosity towards Plaintiff for her internal report in

which Defendant’s agents believed caused the termination of Non-Party, Derham. Id. at ¶ 66.

The temporal proximity between the protected activity, ultimately resulting in Non-Party,

Derham’s termination in or around April 2017 and the adverse action, which occurred on

September 18, 2017 are unduly suggestive – as the period during which Plaintiff was on an

approved medical absence should be ignored when considering the temporal proximity, i.e. May

20, 2017 through September 18, 2017. Id. at ¶ 67.

II.     STANDARD

        A.       MOTION TO DISMISS: FOWLER RE TWOMBLY AND IQBAL1

        Reversing the District Court’s 12(b)(6) dismissal upon claims of insufficient specificity,

the Third Circuit held the United State Supreme Court in Twombly and Iqbal (in accord with

Phillips) merely requires that the Complaint “set out ‘sufficient factual matter’ to show that the

claim is sufficiently plausible… [allowing] the reasonable inference that the defendant is liable

for the misconduct alleged.” Fowler v. UPML Shadyside - - F. 3d - -, 2009 WL 2501662 (C.A.3

(Pa) 2009) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1955 (2009)); Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007); Phillips v. County of Allegheny, 515 F.3d 224, 230 (C.A.3 2008).


1
 See generally, "Simplified Pleading, Meaningful Days in Court, and Trials On The Merits: Reflections On The
Deformation of Federal Procedure," New York University Law Review, Vol. 88, p. 286 (April 2013).
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        Fowler reiterated the appropriate Motion to Dismiss standard, as elucidated in Phillips,

remaining: “courts [must] accept all factual allegations as true, construe the Complaint in the

light most favorable to the plaintiff, and determine whether, under any reasonable reading of the

Complaint, the plaintiff may be entitled to relief.” Fowler, supra (quoting Phillips, at 233)

(emphasis added). “Although Fowler’s Complaint is not as rich with detail as some might

prefer, it need only set forth sufficient facts to support plausible claims.”2 Fowler (citing

Twombly, at 564, n.8).

        “Even post-Twombly, it has been noted that a plaintiff is not required to establish the

elements of a prima facie case but instead, need only put forth allegations that ‘raise a reasonable

expectation that discovery will reveal evidence of the necessary element.’” Fowler, supra;

(quoting Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL 231 2671 (W.D. Pa. 2008)

Phillips, at 234. Thus, courts should not dismiss a complaint for failure to state a claim if it

“contain[s] either direct or inferential allegations respecting all the material elements necessary

to sustain recovery under some viable legal theory.” Montville Twp. v. Woodmont Builders LLC,

No. 05-4888, 2007 WL 2261567, at *2 (3d Cir. 2007) (quoting Twombly, at 1969). In fact, a

Plaintiff need not plead any causes of action (merely facts with request for relief). See 2 James

Wm. Moore et al., Moore's Federal Practice P 8.04[3].




                  2
                      Mr. Sharp:   It’s a conclusory fact.

                  Justice Breyer: Well, it’s a fact. They sat in their view --

                  Mr. Sharp:       It’s a conclusion.

                  Justice Breyer: All right. I don’t know what a conclusory fact is as opposed
                                  to a regular fact.

Dart Cherokee Basin Operating Co. v. Owens, 13-719 (S.Ct. October 7, 2014) (excerpt from transcript of oral
argument).
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       “Under the Federal Rules of Civil Procedure, an evidentiary standard is not a proper

measure of whether a complaint fails to state a claim.” Fowler, supra “…[S]tandards of

pleadings are not the same as standards of proof.” Id. “[A] well-pleaded complaint may proceed

even if it strikes a savvy judge that actual proof of those facts alleged is improbable and that a

recovery is very remote and unlikely.” Id. (quoting Twombly, at 556).

       B.      AMENDED PLEADING

       A Plaintiff should be provided an opportunity to file an amended complaint if it appears

that the deficiencies can be corrected. Twombly, supra.; See, 2A J. Moore, Moore’s Federal

Practice ¶12.07 [2.-5], P.12-99 (2d ed. 1994); accord, In re Spree.com Corp., 2001 WL 1518242

(Bankr. E.D. Pa. 2001). Under this liberal pleading standard, courts should generally grant

plaintiffs leave to amend their claims before dismissing a complaint that is merely deficient. See

Grayson v. Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002); Shane v. Fauver, 213 F.3d

113, 116-17 (3d Cir. 2000).

       The Court should freely give leave to amend a Complaint “when justice so requires.”

FRCP 15(a)(2); Fowler, supra. (“we note that the District Court inexplicably foreclosed Fowler

from an opportunity to amend her Complaint so as to provide further specifics…” Though the

deadline for amended pleadings had not yet expired, the District Court dismissed Fowler’s

Complaint with prejudice in error) (emphasis added). The Court should grant Plaintiffs leave to

amend their Complaint unless futile or prejudicial, even if not requested. Adams v Gould, Inc.,

739 F.2d 858, 868-870 (C.A.3 1984) (reversing district court denial of motion to amend a

complaint to assert a new legal theory); Arthur V. Maersk, Inc., 434 F.3d 196, 204-2017 (C.A.3

2006) (reversing district court denial of motion to amend to add a new party approximately one

year after initiation); Lorenz v. CSX Corp., 1 F.3d 1406, 1414 (C.A.3 1993) (finding no prejudice
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three years after action and two years after complaint was amended for second time); Estate of

Frank P. Lagano v. Bergen County Prosecutor's Office, No. 13-3232 (C.A.3. 2014) (citing

Alston v. Parker, 363 F.3d 229, 235 (C.A.3 2004)) (reversing a district court for not sua sponte

granting leave to amend).

       “Prejudice” is often used as a misnomer – prejudice is not defined by the requirement of

ongoing litigation or defense but instead results from an inability to defend. Lorenz, supra.

(emphasis added). "Futility" invokes the 12(b)(6) standard upon the district court's notice of the

complaint's deficiencies. Davis v. Abington Memorial Hospital, 765 F.3d 236, 244-245 (C.A.3

2014) (citing Krantz v. Prudential Investments Fund Management, LLC, 144 F.3d 140, 144

(C.A.3 2002).

       C.       CONCLUSION: STANDARD

       When applying the correct standard, Plaintiff’s Third Amended Complaint is sufficiently

specific and Defendants’ Motion should be denied. In the alternative, Plaintiff should be granted

leave to amend as this Honorable Court is, respectfully, directed to allow.

III.   ARGUMENT

       A.       PLAINTIFF’S CLAIMS UNDER TITLE VII AND THE PFPO FOR
                RETALIATION WERE TIMELY FILED WITH THE EEOC AND ARE
                NOT TIME-BARRED.

       Plaintiff’s claims under Title VII and the Philadelphia Fair Practices Ordinance (“PFPO”)

for retaliation (Counts I & III respectively) were timely filed with the United States Equal

Employment Opportunity Commission (“EEOC”), and thus are not time-barred. See Mandel v.

M & Q Packaging Corp., 706 F.3d 157, 165 (2013). See also Ellingsworth v. Hartford Fire

Insurance Company, 246 F. Supp. 3d 546, 588 (2017). “To bring suit under Title VII, a claim in

a deferral state, such as Pennsylvania, must first file a complaint with the EEOC within 300

days of the alleged unlawful employment practice.” Mandel, 706 F.3d at 165.
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        Here, Plaintiff filed her claim with the EEOC for retaliation under Title VII on July 6,

2018 – within 300 days of the adverse action, i.e. of the wrongful termination, which occurred on

September 18, 2017. See Pl. Op. Compl., ¶¶ 51-52, 64; see also Pl. Op. Compl., Exhibit A. In

fact, Defendant even admits in its Motion to Dismiss that Plaintiff filed with the EEOC within

300 days of the termination. See Defendant’s Motion to Dismiss, Page 14 (of 28) (Doc 5-1). As

Pennsylvania is a deferral state, Plaintiff timely filed her complaint with the EEOC. See Mandel,

706 F.3d at 165. See also Ellingsworth, 246 F. Supp. 3d at 588. As Plaintiff’s claim for

retaliation under Title VI (Count I) was timely filed within the 300 days, Defendant’s Motion to

Dismiss Count I should be denied.

                i.    PLAINTIFF’S CLAIMS UNDER THE PFPO FOR RETALIATION
                      WAS TIMELY FILED WITH THE EEOC AND IS NOT TIME-
                      BARRED.

        Plaintiff’s claims under the PFPO for retaliation (Count III) was timely filed with the

EEOC, and thus is not time-barred. See Ahern v. Eresearch Technology, Inc., 183 F. Supp. 3d

663, 667-68 (2016). A plaintiff sufficiently exhausts her administrative remedies under the PFPO

through a timely filing with the EEOC. See Ahern, 183 F. Supp. 3d at 667-68.

        Here, as Plaintiff timely filed her complaint with the EEOC (see Section A above),

Plaintiff has appropriately exhausted her administrative remedies under the PFPO and

Defendant’s Motion to Dismiss Count III should be denied.

        B.        PLAINTIFF SUFFICIENTLY PLED FACTS SUPPORTING A CLAIM OF
                  RETALIATION UNDER TITLE VII AND THE PFPO.

        Plaintiff sufficiently pled facts supporting a claim of retaliation under Title VII and the

PFPO.3 In order to survive a Motion to Dismiss a claim of retaliation under Title VII, a plaintiff


3
 As Courts use the same test to analyze whether a claim has been sufficiently stated under the PFPO as under Title
VII, for the sake of efficiency, Plaintiff only addresses herein whether a claim has been sufficiently stated under
Title VII. See Ahern, 183 F. Supp. 3d at 670-71.
         Case 2:18-cv-04282-AB Document 10 Filed 12/03/18 Page 13 of 17



must pled “sufficient factual allegations to raise a reasonable expectation that discovery will

reveal evidence of the following elements: (1) she engaged in conduct protected by Title VII; (2)

the employer took adverse action against her; and (3) a causal link exists between her protected

conduct and the employer's adverse action.” Connelly v. Lane Const. Corp., 809 F.3d 780, 789

(3d Cir. 2016) (citing Charlton v. Paramus Bd. of Educ., 25 F.3d 194, 201 (3d Cir.1994)). In

fact, the Connelly Court makes clear that a “complaint need not establish a prima facie case in

order to survive a motion to dismiss. A prima facie case is ‘an evidentiary standard, not a

pleading requirement.’” Id.

       An internal communication clearly opposing discrimination is a protected activity under

Title VII. See Anderson v. Boeing Company, CV 15-3073, 2016 WL 9446648, at *19 (E.D. Pa.

Aug. 30, 2016), aff'd, 694 Fed.Appx. 84 (3d Cir. 2017). The opposition “need not be written or

formal; protected opposition activity ‘can take the form of informal protests of discriminatory

practices, including making complaints to management.’” Id. (citing Moore v. City of

Philadelphia, 461 F.3d 331, 343 (3d Cir. 2006), as amended (Sept. 13, 2006)).

       Here, Plaintiff has sufficiently pled facts to raise a reasonable expectation that discovery

will reveal evidence to sustain a claim for retaliation under Title VII. First, Plaintiff made an

internal report to Defendant’s Agent, Gene Spiegelman, who was employed in the position of

Vice Chairman-Head of Retail Services, concerning the sexual harassment of Plaintiff by

Defendant’s Agent, Derham. See Pl. Op. Compl., ¶ 22. In fact, as a result of this internal

complaint, Moving Defendant initiated an internal investigation, although Moving Defendant

never provided Plaintiff any information on the outcome of the internal investigation. Id. at ¶ 23.

As such, this complaint to management concerning the sexual harassment is a protected activity

under Title VII. See Anderson, CV 15-3073, 2016 WL 9446648, at *19.
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       Second, Plaintiff has pled that as a result of her internal complaint, Defendant, by and

through its various agents, harbored animosity towards Plaintiff for her internal report in which

Defendant’s agents believed caused the termination of Non-Party, Derham. See Pl. Op. Compl., ¶

66.

       Notably, Defendants allege that Plaintiff has not set forth a prima facia case due to the

lack of evidence demonstrating a causal link between the protected activity and the adverse

action. See Defendant’s Motion to Dismiss, Page 17 (of 28) (Doc 5-1). However, this is not

necessary at this stage. See Connelly, 809 F.3d at 789 (“A prima facie case is ‘an evidentiary

standard, not a pleading requirement.’”). Rather, discovery will reasonably reveal the motivation

of Defendant in terminating Plaintiff. As Plaintiff has sufficiently pled facts supporting a claim

of retaliation under Title VII and the PFPO, Defendant’s Motion to Dismiss Counts I & III

should be denied.

       C.      PLAINTIFF SUFFICIENTLY PLED FACTS SUPPORTING A CLAIM
               FOR BREACH OF CONTRACT.

       Plaintiff sufficiently pled facts supporting a claim for breach of contract despite

Defendants’ hyper-parsing of Plaintiff’s Operative Complaint. In order to survive a Motion to

Dismiss on a claim for breach of contract under Pennsylvania law, a plaintiff must plead

sufficient factual allegations to raise a reasonable expectation that discovery will reveal evidence

of the following elements: (1) the existence of a contract, including its essential terms, (2) a

breach of the contract; and, (3) resultant damages. Meyer, Darragh, Buckler, Bebenek & Eck,

P.L.L.C. v. Law Firm of Malone Middleman, P.C., 137 A.3d 1247, 1258 (Pa. 2016).

       Here, Plaintiff has pled that she entered into an employment contract with Defendant in

or around April 2014. See Pl. Op. Compl., ¶ 189. Defendants attached a copy of the Employment

Contract to their Motion to Dismiss. See Doc. 5-3. The Employment Contract specifically states
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that Plaintiff is entitled to share in commissions or fees collected by Defendant following

Plaintiff’s termination in three specific scenarios. See Doc. 5-3, Page 4. Plaintiff has alleged that

Defendant breached the Employment Contract by failing to pay Plaintiff all commissions that

she is entitled to under the Employment Contract, resulting in financial harm to Plaintiff. See Pl.

Op. Compl., ¶¶ 191-92. As Plaintiff has sufficiently pled facts supporting a claim breach of the

Employment Contract, Defendant’s Motion to Dismiss Count IX should be denied.

        D.      PLAINTIFF’S REQUEST TO AMEND IF NECESSARY.

        To the extent this Honorable Court finds Plaintiff’s Third Amended Complaint defective,

Plaintiff respectfully requests leave to amend to “provide further specifics.” See FRCP 15(a)(2);

Fowler, supra; see also Adams, 739 F.2d at 868-870 (reversing district court denial of motion to

amend a complaint to assert a new legal theory).

        Further, without citing any case law from the Third Circuit, Defendant suggests that

Plaintiff’s filings in state court prevented Plaintiff from having a right, as a matter of course, to

amend her complaint. See Defendant’s Motion to Dismiss, Page 25 (of 28) (Doc 5-1). Plaintiff’s

Counsel has not found any case law from the Third Circuit supporting (or negating) Defendant’s

position. Nonetheless, to the extent this Honorable Court deems Plaintiff’s filing of Plaintiff’s

Third Amended Complaint (first amended complaint in federal court) to be improper without

leave of Court, Plaintiff respectfully requests this Honorable Court provide such leave nunc pro

tunc.

IV.     CONCESSIONS4

        Plaintiff respectfully withdraws her claims for retaliation under the Pennsylvania Human

Relations Act, i.e. Count II.

        Plaintiff respectfully withdraws her claims for violations and retaliation asserted under

4
        Additionally, Plaintiff did not plead any claims under Section 1983. See generally Pl. Op. Compl.
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the Family Medical Leave Act, i.e. Counts IV and V.

       Plaintiff respectfully withdraws her claims for hostile work environment under Title VII,

Pennsylvania Human Relations Act, and the Philadelphia Fair Practices Ordinance, i.e. Count

VI, VII, & VIII.

V.     CONCLUSION

       For the foregoing reasons, Plaintiff, Andrea Pesacov, respectfully requests this Honorable

Court deny Defendant, Cushman & Wakefield of Pennsylvania, Inc.’s Motion to Dismiss

Plaintiff’s Third Amended Complaint and enter the proposed Order attached hereto

       WHEREFORE, Plaintiff, Andrea Pesacov, by and through her undersigned attorneys,

respectfully requests this Honorable Court deny Defendant, Cushman & Wakefield of

Pennsylvania, Inc.’s Motion to Dismiss Plaintiff’s Third Amended Complaint and enter the

proposed Order attached hereto.

                                                    Respectfully submitted,

WEISBERG LAW                                        SCHAFKOPF LAW, LLC

 /s/ Matthew B. Weisberg                             /s/ Gary Schafkopf
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV                              :
                                            :
       v.                                   :      No.: 18-cv-4282
                                            :
CUSHMAN & WAKEFIELD OF                      :
PENNSYLVANIA, INC.                          :


                               CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 3rd day of December, 2018, a

true and correct copy of the foregoing Plaintiff’s Response in Opposition to Defendants’ Motion

to Dismiss Plaintiff’s Third Amended Complaint, and Plaintiff’s Memorandum of Law in

Support Thereof, was served via ECF upon all counsel of record.


WEISBERG LAW                                       SCHAFKOPF LAW, LLC

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